      Case 2:24-cv-12962-GAD-EAS ECF No. 75-4, PageID.5397 Filed 02/21/25 Page 1 of 1



       STATE     OF MICHIGAN                                                                                    Case Number
                                                      NOTICE OF VIRTUAL                                  2020:880799-DC
          UL        JUDIGIAL                    HEARING         IN RESPONSE           TO             OLIVER,MATTHEW . WARRE
         SR DI COUNTY
        OAKLAND COURT                                 IN PRO PER MOTION                                        ! N,         S :
                                                                                                          OLIVER,SHARI,LYNN,
Friend of the Court, 230 Elizabeth Lake, PO Box 436012, Pontiac, MI 48343-6012 Telephone No: (248) 858-0424; FAX No: (248) 858-0461 — TEAM 65

  MATTHEW OLIVER                                        :                      SHARI OLIVER



                                                        NOTICE OF HEARING

 A virtual Zoom hearing will be held on MARCH                      10, 2025 at 10:30 by Referee Ryan O'neil in response
  to attached Motion to Change Support Order filed by Plaintiff on FEBRUARY                                   4, 2025.

                      CONNECTING            TO THE VIRTUAL COURTROOM                          FOR THE HEARING

  *    Windows Desktop PCs and Laptops: Go to Zoom Web Site at https://zoom.us. Click on “Join a
       Meeting”; enter the Meeting ID 372 339 0680 and click “Join”.
  *    Apple and Android Tablets or Phones: Install the Zoom App from the Apple or Android Store
       before the call. Launch the Zoom App at the time of the call and join using Meeting ID 372 339
       0680 and click “Join”, or follow the above step in your phone’s web browser.
 *     Phone Call Only: Call (646) 876-9923 or (669) 900-6833 and join using Meeting ID 372 339 0680.

  Please fully read the attached instructions.

                                       PROOF       OF ELECTRONIC             SERVICE/MAILING

  | certify that on      _ 2/7/2025                              | served     a copy       of this   Notice    of Virtual    Hearing     and
 Motion on the above parties and/or their attorneys. (Asterisks indicate a confidential address). When
 possible, parties and attorneys were served by MIFILE or email.


 DATE:          __2/7/2025                                         NICOLE BAX
                                                                   Signature




     If you require special accommodations to use the court because of a disability, or if you
 require a foreign language interpreter to help you fully participate in court proceedings, please
                 contact the Friend of the Court immediately to make arrangements.
